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                                                                                                          FILED
                                    UNITED STATES DISTRICT COURTS
                                                                                                               DEC 1 8 2020
                                      EASTERN DISTRICT OF TEXAS                                           Clerk, U.S. District Co rt
                                                        DIVISION                                          Eastern District of Texas



   (Ca-AxcoYnus
                                                                               Case Number:          4:20cv963-ALM-CAN
   9A (1)o\ of Sovy

 Name of Plaintiff(s)



       tnVd AAcy ol

  Unbfd in dom
 Name of Defendant(s)




            COMPLAINT UNDER TITLE V OF THE CIVIL RIGHTS ACT OF 1964

         Note: If plaintiff is alleging employment discrimination based on race or color, please also see 42:U.S.C, 1981


  1. This action is brought pursuant to Title VII of the Civil Rights Act of 1964 for
        employment discrimination. Jurisdiction is specifically conferred on the court by 42
         U.S.C. 2000e-5. Equitable and other relief are also sought under 42 U.S.C. 2000e-5(g).




 2..     Plaintiff, ( C)dc , is a citizen of the United States/ j cyVoT y
                    (name of plaintiff)

         and resides at AcA iVldvci cT
                                                (street address)                                             (city)

         VcWxfi                                   I
               (county)                            (state)                     (zip) (telephone)
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       Defendant, vA kd o ( atCA resides at, or its business                                is
                             (name of defendant)

       located at -X               -C      C V 0 f\
                               (street address)                               (city)

       XV\           ivV d            X \c rv ,
             (county)                      state)                (zip)        (telephone)



       Plaintiff sought employment from the defendant or was employed by the defendant

       at        ac            Un\ c\ g                         (\w\c i 0
                              (street address) (city)


                  (county)                                 (state)               (zip)

       Defend nt discriminated against plaintiff in the manner indicated in paragraphs 9 and 10

       of the complaint on or about                    M i \                  ~ CQO
                                                         (month, day, year)

        Plaintiff filed charges against the defendant with the Equal Employment Opportunity
        Commission charging defendant with the acts of discrimination indicated in paragraphs
        9 and 10 of this complaint on or about i) p C t vA , rlO O-Q
                                                      (month, day, year)



        The Equal Employment Commission issued a Notice of Right to Sue which was
       received by plaintiff on Q f T \ 9 1 r G Vl CJ
                                                  (month day, year)
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        Because of plaintiffs (1)          race, (2) y color, (3) y sex,

        (4) \/ national origin, defendant:                            l\j , (xi f \ (Y' i i -\ V \'
                                      oV          f           \ ovw           v l -           \   e

        a.    \/ failed to employ plaintiff. ' H tO rvo jTCVV'iU 3

        b.         terminated plaintiffs employment,

        c.         failed to promote plaintiff.

        d.    \/ other y            Vv d
                          vv\nc               cfr             ex>o        A 0          •
             S/l-\e 15 ~V\\ : o Vq 3I A.y feld \ Si V cu o od-
        The circumstances under which the defendant discriminated against plaintiff were as
        follows: yCOY\ -Y' T H.0<90\c\Y\ i

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         L v'd vnoXXC , do 5 2l o 'XC vv\ dVd oo YOyd
          vv\ Qy 56 o yoY j X)O 0 i
                                                                  S e \c Cj\                  -
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     10. The acts set forth in paragraph 9 of this complaint:

             a.              are still being committed by defendant.

             b. are no longer being committed by defendant.


             c.   defendant may still be committing the acts.

     11. Plaintiff attaches to this complaint a copy of the charges filed with the Equal
            Employment Opportunity Commission which charges are submitted as a brief statement
            of the facts supporting this complaint. WHEREFORE, Plaintiff prays that the Court
            grant the following relief to the plaintiff:

                    a.   Defendant be directed to employ plaintiff.

                    b.   Defendant be directed to re-employ plaintiff.


                    c.   Defendant be directed to promote plaintiff.

                    d. \/r Defendant be directed to .OYvjY V'              and that the
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